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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

 DEBORAH LAUFER,
          Plaintiff,

 v.                                                              Case No: 3:20-cv-9193-FLW-DEA


 EXTENDED STAY AMERICA
 SOMERSET FRANKLIN,
          Defendant.

      PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT’S SECOND
                          MOTION TO DISMISS

         Plaintiff, by and through undersigned counsel, hereby submits this Memorandum in

 Opposition To Defendant’s Second Motion To Dismiss, filed at DE 14.

 I.      Introduction

         As explained in the Original and Amended Compliant Plaintiff is a disabled person

 within the meaning of the Americans With Disabilities Act, 42 U.S.C. Sections 12181, et seq.

 (“ADA”), and relies on a wheelchair or cane to ambulate and is vision impaired. Plaintiff is a

 resident of Florida. In the past, Plaintiff encountered frustration when attempting to book rooms

 at a hotel because so few online reservations systems fail to identify or allow for booking of

 accessible rooms and provide little or no information about whether the features at the hotel are

 accessible. In many instances, website claims of “accessibility” prove to be untrue when she

 arrives at the hotel. Id. para. 3. As a result, Plaintiff is an advocate, or “tester”, for the purpose of

 bringing hotel online reservations systems into compliance with the law.

         Defendant books rooms for its hotel through an online reservations system. (Hereinafter

 “websites”, “online reservations systems” or “ORS”.) The purpose of this ORS is so that


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 Defendant can reach out and market to persons all over the country and in their own homes to

 solicit their patronage, provide them with information so that they can make a meaningful choice

 in planning trips, and, in some instances, book a room at the hotel. As such, the Defendant’s

 ORS is required to comply with the requirements of 28 C.F.R. Section 36.302(e)(1)(hereinafter

 “Regulation”), by identifying and allowing for booking of accessible rooms and providing

 accurate and sufficient information as to whether all the features at the hotel are accessible.

        On several different occasions prior to the filing of this lawsuit, Plaintiff reviewed the

 online reservations system for Defendant’s hotel and found that it did not comply with the

 Regulation in any respect. Plaintiff therefore filed the instant action for injunctive relief pursuant

 to the ADA.

        Plaintiff has a system to ensure that she properly maintains standing. She maintains a list

 of all hotels she has sued over ORS violations. She goes through and updates this list constantly.

 With respect to each hotel she sues or has sued, she revisits the hotel’s ORS multiple times

 before a complaint is filed, then again shortly after the complaint is filed. When a case is settled,

 she records the date when the ORS is required to be complaint and then revisits it. By this

 system, Plaintiff ensures that she visits each and every hotel ORS multiple times after she has

 filed a complaint.

        Defendant does not challenge the fact that the websites it uses to accept reservations

 discriminates against disabled persons. Rather, Defendant filed its Motion To Dismiss claiming

 that plaintiff cannot have a cause of action unless she stayed at or intended to book a room at the

 hotel. For the reasons below, Defendant’s arguments are without merit.

        For the reasons set forth below, Plaintiff submits that the original Complaint sufficiently


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 set forth a complete cause of action. Under the applicable rules of statutory construction and

 ample case law in support, Plaintiff suffered injury in fact when she reviewed Defendant’s

 discriminatory ORS and nothing more is required. In short, she need not intend to visit the

 subject hotel. Plaintiff’s original Compliant is premised on this application of law. Plaintiff’s

 Amended Complaint contains the added information; specifically that Plaintiff does indeed have

 plans to travel to the Northern States, including New Jersey, travel throughout the entire State,

 and stay in area hotels.

 II.    Defendant Is A Serial Violator

        Defendant begins its arguments by complaining that Laufer files too many lawsuits. What

 Defendant omits is that Defendant is a serial violator of the law. Indeed, Defendant has been sued

 again and again for failing and refusing to comply with the Regulation with respect to its chain of

 hotels.1 Despite repeated lawsuits, and obviously being put on notice that it is operating its chain

 of hotels in violation of the law, and instead of actually bringing its ORS into compliance,

 Defendant now opts to deny the rights of disabled persons to enforce the law. Defendant engages

 in intentional discrimination against disabled persons and the purpose of its motion is to

 immunize itself from the consequences of the law so that it can continue to discriminate without

 consequence.

 III.   The Applicable Standard


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          Here is but a few of the many cases in which Extended Stay America has been sued for
 continued refusal to comply with the Regulation: (1) Laufer v. BRE/ESA P Portfolio, LLC, 6:20-
 cv-6188 (W.D. N.Y.); (2) Laufer v. BRE/ESA P Portfolio, LLC, 1:20-cv-4594 (C.D. Il.); (3)
 Laufer v. BRE/ESA P Portfolio, LLC, 1:20-cv-1973 (D. Md); (4) Kennedy v. BRE/ESA P
 Portfolio Operating Lessee, LLC, 18-cv-62946 (S.D. Fla.); (5) Kennedy v. ESA P Portfolio,
 LLC, 6:18-cv-00590 (M.D. Fla.); (5) Kennedy v. ESA Management, LLC, 9:17-cv81321 (S.D.
 Fla.); (6) Laufer v. Extended Stay America, 3:20-cv-09193 (D.N.J.).

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        Defendant’s motion is based on Fed. R. Civ. Pro. 12(b)(6).

        Under Fed. R. Civ. P. 12(b)(6), a district court must accept the allegations of the

 complaint as true in a light most favorable to the plaintiff. Roll v. Singh, 2008 U.S. Dist Lexis

 50125 (D.N.J. 2008), citing Gomez v. Toledo, 446 U.S. 635 n. 3 (1980) and Robb v. City of

 Phila., 733 F.2d 286, 290 (3rd Cir. 1984).

 IV.    The Pleadings Are Sufficient

        Fed. R. Civ. P. 8 requires that the pleader provide a short and plain statement of the claim

 showing entitlement to relief. Many courts have upheld the sufficiency of virtually identical

 pleadings and have rejected challenges against their sufficiency. See, e.g., Kennedy v. New

 Yorker Hotel Miami, LLC, 18-62897, DE 34 (S.D. Fla. 6/6/19); Kennedy v. Patel Brothers, Inc.,

 19-60613, DE 23 (S.D. Fla. 6/6/19); Kennedy v. Guru Krupa, Inc., 0:18-cv-63088-WPD, DE 18

 (S.D. Fla. 2/26/19)(denying motion to dismiss); and Kennedy v. Murnane, et al., 0:18-cv-63086-

 WPD, DE 10 (S.D. Fla. 3/5/19)(denying motion to dismiss).

        Numerous courts have also considered such allegations as sufficient when they granted

 default judgment. See Kennedy v. Excel Hospitality, LLC, 1:20-cv-2334, DE 15 (N.D. Il.

 7/31/20); Kennedy v. Cape Siesta Motel, LLC, 18-81811, 0:18-cv-61811-MGC, DE 20 (S.D. Fla.

 1/18/2019); Kennedy v. Shivnit, Inc., 0:18-cv-63094-UU, DE 12 (S.D. Fla. 1/30/19); Laufer v.

 Laxmiben Champiklal, LLC, 4:20-cv-32-LMM, DE 24 (N.D. Ga. 9/10/20); Kennedy v. Yaish &

 Tish Ltd., LLC, 19-cv-61992-RAR, DE 14 (S.D. Fla. 9/27/19); Kennedy v. Londamerican Real

 Estate Ltd., 19-cv-61228-SMITH/VALLE, DE 18 (S.D. Fla. 8/21/2019); Kennedy v. Guruhari

 Hospitality, LLC, 0:19-cv-61139-WPD, DE 18 (S.D. Fla. 7/11/2019); Kennedy v. Moreno, 19-

 60550-CIV-ALTMAN, DE 20, (S.D. Fla. 6/26/2019); Kennedy v. Pacifica Tampa Ltd


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 Partnership, 5:17-cv-442-JSM-PRL, DE 7 (M.D. Fla. 1/25/18). Kennedy v. Fernandez, 19-

 60876, DE 18 (S.D. Fla. 6/11/2019); Kennedy v. Astoria Hotel Suites, LLC, 19-cv-60160, DE 17

 (S.D. Fla. 3/22/19); Kennedy v. Dockside View, LLC, 2:18-cv-14444-KAM (S.D. Fla. 1/19/19);

 Kennedy v. Cape Siesta Motel, LLC, 18-81811, 0:18-cv-61811-MGC, DE 20 (S.D. Fla.

 1/18/2019); Kennedy v. Shivnit, Inc., 0:18-cv-63094-UU, DE 12 (S.D. Fla. 1/30/19); Kennedy v.

 Terrace Park Suites, LLC, 0:19-cv-60012-DPG (S.D. Fla. 3/21/19); Kennedy v. Shree Ram

 Jalaram, Inc., 19-60708, DE 13 (S.D. Fla. 4/18/2019); and Kennedy v. Rushi Hospitality LLC,

 18-cv-62259-WPD, DE 26 (S.D. Fla. 2/6/19).

 V.     Defendant’s Argument Is Without Merit

        In its effort to become immune from the law, Defendant argues that a disabled plaintiff

 cannot have a cause of action for encountering a hotel’s discriminatory online reservations

 system unless they intend to visit the hotel. Defendant completely ignores the overwhelming slew

 of cases, on point, in which numerous courts have considered and rejected Defendant’s theory.

        The entire foundation of Defendant’s main argument is misplaced because Defendant

 fails to understand the nature and locus of the injury. Defendant’s entire theory is based on the

 mistaken proposition that the plaintiff can only suffer past and future injury-in-fact AT the

 physical property by encountering physical barriers to access or that plaintiff cannot have a cause

 of action for encountering a discriminatory website unless she intended to book a room at the

 hotel. (Hereinafter “physical nexus” requirement.)

        Defendant cites only ONE case in which a court actually held that a plaintiff must intend

 to book a room in order to have a cause of action for ORS discrimination: Hernandez v. Caesars




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 License Co., LLC, 2019 U.S. Dist. LEXIS 172456 (N.J. Dist. 2019). 2 This is fundamentally

 flawed for the reasons set forth below.

         Defendant ignores the vast body of authorities which have considered and rejected

 Defendant’s arguments. The arguments raised by Defendant have been raised numerous times by

 others, and have been universally rejected. In Parks v. Richard, 2020 U.S. Dist. Lexis 86790

 (M.D. Fla. 2020), one court in the Middle District of Florida rejected the defendant’s argument

 that the plaintiff needed to intend to book a room at the hotel. First, the court held that the

 plaintiff sufficiently “alleged he suffered an injury in fact by encountering barriers that violate the

 ADA.” Id., at **4-5. The court directly rejected the defendant’s argument that the plaintiff lacked

 standing because he never visited or intended to visit the hotel. The court held that the:

         ADA claim is based upon [defendant's] website failing to identify the accessible features
         of the motel and its rooms, in violation of 28 C.F.R. § 36.302(e)(1)(ii). Therefore, the
         relevant 'future injury' inquiry relates to the motel's website and reservation system, rather
         than the motel's physical property." [Citation omitted.] While Parks may have never
         visited the motel, he visited its website and several third-party sites.

 Id. at *7.

         In Kennedy v. Gold Sun Hospitality, LLC, 8:18-cv-842-T-33CPT, DE 23, at pp. 30-31,

 (M.D. Fla. June 18, 2018), a court in the Middle District rejected a physical nexus argument,

 holding that the plaintiff’s injury occurred in comfort of her own home when she visited

 defendant’s discriminatory hotel website.

         In Kennedy v. Swagath Hospitality, LLC, 0:19-cv-60583-DPG, DE 27 (S.D. Fla.


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          Laufer v. Laxmi & Sons, LLC, 1:19-cv-01501-BKS-ML, 2020 U.S. Dist.
 LEXIS 79545 (N.D.N.Y. May 6, 2020); and Laufer v. 1110 Western Albany, LLC, Case No.
 1:19-cv-01324-BKS-ML, 2020 U.S. Dist. LEXIS 81128 (N.D.N.Y. May 7, 2020), referenced by
 Defendant, never issued any actual ruling that Plaintiff lacks standing. The Court (Same judge in
 both cases) merely issued an order requiring briefing on the issue.

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 1/2/2020), another court rejected the defendant’s physical nexus argument, stating:

         Plaintiff alleges that (1) she visited Defendant's website to ascertain whether it met the
         requirements of 28 C.F.R. Section 36.302(e), (2) she intends to return to the website to
         test it for compliance and/or to reserve a guest room, and (3) Defendant's failure to
         comply with the Americans with Disabilities Act ("ADA") is ongoing and harmful to
         her..... Based on these allegations, the Court finds that Plaintiff has sufficiently alleged an
         injury-in-fact and an intent to the return to the website in the future.

         In Kennedy v. Galleon Resort Condominium Assn, Inc., et al., 19-cv-62421-CMA, DE 52

 (S.D. Fla. 1/28/20), another district court rejected the defendant’s arguments (filed at DE 39) that

 a physical nexus was required between a discriminatory ORS and the physical hotel.

         In Kennedy v. WGA, 2:19-cv-0095-RWS, DE 16, p. 9 (N.D. Ga. 11/5/2019), one court in

 the Northern District of Georgia rejected a defendant’s argument (filed at DE 5) that the plaintiff

 lacked standing because she did not intend to use the discriminatory ORS to book a room. As the

 court put it: “[Defendant]’s argument [] centers on whether [plaintiff] suffered a concrete and

 particularized injury only from visiting [the hotel’s] website and not the physical premises. DE

 16, at pp. 7-8. In rejecting the defendant’s argument, the court held that: “visiting the website

 suffices” and that “a plaintiff’s inability to fully and effectively use an establishment’s website

 constitutes an injury-in-fact.” Id. at 9. The court further stated:

         [T]he Court finds that [plaintiff] has sufficiently alleged an injury-in-fact as a result of
         visiting Lakeside’s deficient website under 28 C.F.R. § 36.302(e)(1)(ii). She visited the
         website to review and assess the accessible features of the Lakeside Inn. Because the
         website lacked the requisite information, she could not determine whether the physical
         location met her accessibility needs. Lakeside thus deprived her of the services otherwise
         available to the general public. These allegations are sufficient to establish a past injury
         for the purposes of standing.
         ....
         As with the past injury, the Court has previously held in a different context that alleging
         an intent to return to a website that threatens continued exposure to discrimination is
         sufficient to establish a threat of future injury. [Citation omitted.] Given the finding above
         that the alleged injury stems from [plaintiff’s] visiting Lakeside’s deficient website, the


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         Court finds that the relevant inquiry is whether she is likely to return to the website again.

 Id. at 9-10, 12.

         In Poschmann v. Fountain TN, LLC, 2019 U.S. Dist. Lexis 159417, **4-6 (M.D. Fla.

 2019), another court rejected similar arguments that intent to visit the hotel’s website, alone, was

 insufficient. The court held that the plaintiff’s ADA claim was based on the discriminatory

 website and, “[t]herefore, the relevant "future injury" inquiry relates to the motel's website and

 reservation system, rather than the motel's physical property.” Id.

         In Poschmann v. Coral Reef of Key Biscayne Developers, Inc., 2018 U.S. Dist. Lexis

 87457. *8 (S.D. Fla. 2018), a court recognized the plaintiff’s motive for returning to the

 discriminatory website as either “ to determine whether the Hotel is accessible to him, and, if so,

 to reserve a room at the Hotel or to test the Hotel's Website reservation system for its compliance

 with the ADA.” (Emphasis added.) By inclusion of the word “or” the court held that motive to

 review the website solely to test it was sufficient and that intending to book a room is not

 required. The court further held that plaintiff’s injury in fact is demonstrated by the non-

 compliance of the hotel’s website. Id.

         Other courts rejected the defendants’ arguments that a plaintiff lacked standing unless she

 intended to book a room at the hotel. See Kennedy v. New Yorker Hotel, Miami, LLC, 0:18-cv-

 62897-WPD, DE 34 (6/6/19); Kennedy v. Murnane, et al., 0:18-cv-63086-WPD, DE 10 (S.D.

 Fla. 3/5/19); Kennedy v. Italia, LLC, 19–cv-61938-COOKE/HUNT, DE 35 (S.D. Fla.

 8/10/20)(rejecting nexus argument made at DE 17); Kennedy v. Nisha, Inc., 8:20-cv-367-TPB-

 CPT, DE 34 (M.D. Fla. 9/17/20)(the weight of authority supports standing).

         In Kennedy v. Nila Investments, LLC, 2:19-cv-90-LGW-BWC, DE 34 (S.D. Ga. 7/1/20),


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 one Georgia court granted default judgment after an evidentiary hearing, finding that the plaintiff

 suffered discrimination when she visited the non-compliant ORS. The court additionally found

 that the plaintiff had standing because she visited the ORS both before and after the lawsuit was

 filed “for the purpose of assessing the accessibility features of the property and to ascertain

 whether those sites met her accessibility needs as well as the requirements of 28 C.F.R. §

 36.302(e)(1).” Id. at p. 5.

         Numerous other courts have held that a disabled person suffers injury-in-fact when they

 visit a hotel’s discriminatory online reservations system. See Kennedy v. Sai Ram Hotels, LLC,

 2019 U.S. Dist. LEXIS 80111, *4-6 (M.D. Fla. 5/13/19), citing Honeywell v. Harihar Inc., 2018

 U.S. Dist. LEXIS 203740,(M.D. Fla. Dec. 3, 2018) (holding plaintiff's allegations that she visited

 defendant's website but was unable to independently ascertain the accessible features were

 sufficient to allege an injury-in-fact); Kennedy v. Floridian Hotel, Inc., 2018 U.S. Dist. LEXIS

 207984, at *9 (S.D. Fla. 2018) ("[T]he Court finds that Plaintiff has shown that she suffered an

 injury-in-fact when she encountered the ADA violations on the Website."). Poschmann v.

 Liberty Inn Motel, LLC, 2:18-cv-14348, ECF No. 17 at 4-5 (S.D. Fla. Jan. 23, 2019)(court issued

 ruling on venue holding that injury occurred in plaintiff’s home when he visited hotel’s

 discriminatory online reservations system); Brooke v. Hotel Inv. Grp., Inc., 2017 U.S. Dist Lexis

 150717, * 6 (D. Ariz. 2017)(holding that the plaintiff suffered injury when she visited the hotel’s

 discriminatory ORS and this occurred where she was located when she reviewed the website);

 Brooke v. Regency Inn-Downey, LLC, 2017 U.S. Dist. Lexis 150716 (D. Ariz. 2017)(same). This

 injury occurs in the comfort of the plaintiff’s own home. Gold Sun, at pp. 30-31 (plaintiff’s

 injury occurred in comfort of her own home when she visited defendant’s discriminatory hotel


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 website).

        Numerous additional cases support the proposition that viewing a discriminatory

 commercial website constitutes injury in the context of vision impairment based claims. See, e.g.

 Carroll v. Fedfinancial Fed. Credit Union, 324 F. Supp. 3d 658, 664 (E.D. Va. 2018); Access

 Now, Inc. v. Otter Prods., LLC, 280 F. Supp. 3d 287, 294 (D. Mass. 2017); Jones v. Piedmont

 Plus Fed. Credit Union, No. 1:17-CV-5214- RWS, 2018 WL 4694362, at *1 (N.D. Ga. Sept. 26,

 2018) (“Plaintiff suffered a concrete injury when he attempted to access the website but was

 unable to fully and effectively utilize it.”); Jones v. Family First Credit Union, No.

 1:17-CV-4592-SCJ, 2018 WL 5045231, at *4 (N.D. Ga. Aug. 6, 2018) (explaining that the

 inability to determine a public accommodation’s accessibility information via its website

 constitutes an injury-in-fact because it is “direct exposure to differential treatment of a person

 with a disability.”). For example, in Camacho v. Vanderbilt Univ., 2019 U.S. Dist. Lexis 209202,

 *30 (S.D.N.Y. 2019), one court rejected the notion that the plaintiff’s possible visit to the subject

 property was at issue, holding:

        Plaintiff has claimed that he was denied access to the Website, not Defendant's physical
        location itself. Thus, Defendant need not have shown that he intended to "return" to
        Defendant's school in Nashville, Tennessee. He is only required to have established a
        reasonable inference that he intended to return to the Website...

        Defendant cites a number of cases involving a plaintiff’s right to sue over violations that

 were only encountered and will be encountered again by the plaintiff’s visit to the physical

 property, i.e., Harty v. Greenwich Hospitality Goup, LLC, 536 F. App’x 154, 155 (2d Cir. 2013),

 and Kreisler v. Second Ave. Diner Corp., 731 F.3d 184 (2d Cir. 2013) However, the applicability

 of physical property violation cases to website discrimination cases has been widely rejected.



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 See, e.g. Camacho v. Vanderbilt University, 2019 U.S. Dist. Lexis 209202, at *30 (S.D.N.Y.

 2019). Indeed, Camacho specifically rejected the applicability of Greenwich Hospitality, holding

 that a defendant’s reference to it “misses the mark”. Id. at 26, 30. In Parks, 2020 U.S. Dist. Lexis

 86790 at *6, the court ruled that the long distance between the hotel and the plaintiff’s home

 weighed in the plaintiff’s favor because hotels cater to travelers from afar.3 Numerous other

 courts have criticized the distance test’s applicability to hotels and website discrimination cases.

 Gold Sun Hospitality, LLC, 8:18-cv-842, DE 23, pp. 30-31 (holding that plaintiff encounters

 ORS discrimination in the comfort of their own home); Kennedy v. Sai Ram Hotels, 2019 U.S.

 Dist. Lexis 80111, * 9 (M.D. Fla. 2019). Another court has held that the distance test not

 applicable to commercial websites (in vision impaired discrimination) because (1) website cases

 do not involve physical locations; and (2) no travel is required. Gniewkowski, et al v. Lettuce

 Entertain You Enterprises, Inc., et al., 251 F. Supp.3d 908, 920 (W.D. Pa. 2017). “The relevant

 ‘future injury’ inquiry relates to the [hotel’s] website and reservation system, rather than the

 [hotel’s] physical property. Sai Ram, 2019 U.S. Dist. Lexis 80111, at *11.

        Defendant cites only one case that actually held a disabled plaintiff must intend to book a

 room in order to maintain a cause of action for online reservations service discrimination:

 Hernandez v. Caesars License Co., LLC, 2019 U.S. Dist. LEXIS 172456 (N.J. Dist. 2019).



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          Numerous other courts have held that the distance test is not applicable in the context of
 hotels because hotels are, by nature, established to accommodate travelers from afar. Bodley v.
 Plaza Management Corp., 550 F.Supp.2d 1085, (D. Ariz. 2008); D’Lil v. Best Western Encina
 Lodge & Suites, 415 F. Supp.2d 1048, 1056 (C.D. Cal. 2006); Access 4 All, Inc. V. Wintergreen
 Commercial P’ship, 2005 WL 2989307, at *4 (N.D. Tex. Nov. 7, 2005); . Access 4 All, Inc. v.
 539 Absecon Blvd., 2006 WL 1804578, at *3 (D.N.J. 2006). Indeed, at least one court has ruled
 that a plaintiff who lives too close to a hotel has no standing to sue for compliance. See Access 4
 All, Inc. v. Thirty East 30th Street, LLC, 1:04-Civ-3683, DE 36, at 17 (S.D. N.Y. 12/11/06).

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 Hernandez is substantially flawed and was never appealed. If it had been, it is dubious that

 Herndandez would have been upheld in light of the body of authorities cited in this

 Memorandum. First, it does not appear that the Hernandez court considered the plain language

 of the statute, the rules of statutory construction, Supreme Court case law4, or the overwhelming

 number of other decisions holding to the contrary. Second, the Hernandez court cited two other

 court holdings in support of its proposition that intent to book a room is required. However,

 neither opinion stands for such a holding. One case cited by the Hernandez Court is Juscinska v.

 Paper Factory Hotel, LLC, 2019 U.S. Dist. Lexis 92550 (S.D.N.Y. 2019). However, the

 Juscinska court only noted that the plaintiff had the intention of booking a room. It never held

 that such an intent was required. Noting that the plaintiff intended to book a room is far different

 from holding that this is a requirement of the law.

        The second case cited by the Hernandez Court was Poschman v. Coral Reef Of Key

 Biscayne Developers, Inc., 2018 U.S. Dist. Lexis 87457 (S.D. Fla. 5/22/18). However, the

 Poschmann decision actually stated that solely testing a website system for compliance satisfies

 standing. Poschmann, 2018 U.S. Dist. Lexis 87457 at *8 (“Plaintiff intends to return to the

 Website within thirty days to determine whether the Hotel is accessible to him, and, if so, to

 reserve a room at the Hotel or to test the Hotel's Website reservation system for its

 compliance with the ADA.”)(emphasis added). By this language, the Poschmann opinion held

 the exact opposite of what the Hernandez court stated. In sum, the Hernandez decision is entirely



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         The Hernandez Court attempted to distinguish ORS cases from the holding set forth by
 the Supreme Court in Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), which will be
 discussed below. Also for the reasons set forth below, Plaintiff submits that the Hernandez
 Court’s analysis in this regard is critically flawed.

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 founded on its own misreading of other cases.

        VI.     The Rules Of Statutory Construction Require That Defendant’s Physical
                Nexus Argument Be Rejected

        It is paramount that the plain words of the Statute and duly promulgated Regulation

 govern. Several general maxims apply. Statutory interpretation always “begins with the plain

 language of the statute.” Jiminez v. Quarterman, 555 U.S. 113, 118 (2009). “It is well

 established that, when the statutory language is plain, we must enforce it according to its terms.”

 Id. A court’s “inquiry must cease if the statutory language is unambiguous and ‘the statutory

 scheme is coherent and consistent.’" Robinson v. Shell Oil Co., 519 U.S. 337, 340 (1997).

 “Our duty is to say what statutory language means, not what it should mean, and not what it

 would mean if we had drafted it.” Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1333-34

 (11th Cir. 2013), citing T-Mobile South, LLC v. City of Milton, Ga., 728 F.3d 1274, 2013 WL

 4750549, at *10 (11th Cir. 2013). "We are not at liberty to rewrite the statute to reflect a

 meaning we deem more desirable." Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 228 (2008).

        In other words, an interpreting Court must look to the plain language of the Statute and

 Regulation in analyzing whether a disabled person who encounters a discriminatory ORS has a

 cause of action or whether they must ADDITIONALLY intend to book a room at the hotel or

 ADDITIONALLY encounter discriminatory conditions located at the physical premises. More

 significantly, if such additional restrictive language is found elsewhere in the Statute, but not in

 the provisions governing the case at bar, such exclusion is dispositive.

         "[W]here Congress includes particular language in one section of a statute but omits it in
        another section of the same Act, it is generally presumed that Congress acts intentionally
        and purposely in the disparate inclusion or exclusion."



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 INS v. Cardoza—Fonseca, 480 U.S. 421, 432 (1987). See also De Osorio v. United States INS,

 10 F.3d 1034, 1041 (4th Cir. 1993).

        Plaintiff’s claims are based on the following:

 42 U.S.C. Section 12182(a) provides:

        The remedies and procedures set forth in section 2000a–3(a) of this title are the remedies
        and procedures this subchapter provides to any person who is being subjected to
        discrimination on the basis of disability in violation of this subchapter...
 42 U.S.C. Section 12182(a) provides:

        (a) General rule
        No individual shall be discriminated against on the basis of disability in the full and equal
        enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
        any place of public accommodation by any person who owns, leases (or leases to), or
        operates a place of public accommodation.

 42 U.S.C. Section 12182(b)(2)(A) expands on the definitions of the above subsection to include:

        a failure to make reasonable modifications in policies, practices, or procedures, when
        such modifications are necessary to afford such goods, services, facilities, privileges,
        advantages, or accommodations to individuals with disabilities, unless the entity can
        demonstrate that making such modifications would fundamentally alter the nature of such
        goods, services, facilities, privileges, advantages, or accommodations

 42 U.S.C. Section 12182(b)(2)(A)(ii).

        This latter subsection is the subject of regulations promulgated by the Department Of

 Justice (“DOJ”).5 Specifically, the DOJ promulgated 28 C.F.R. Section 36.302(e)(1)(hereinafter

 “Regulation”), which provides:

        (1)Reservations made by places of lodging. A public accommodation that owns, leases
        (or leases to), or operates a place of lodging shall, with respect to reservations made by
        any means, including by telephone, in-person, or through a third party -
        (i) Modify its policies, practices, or procedures to ensure that individuals with disabilities


        5
         The DOJ promulgated 28 C.F.R. 36.302 to carry out the provisions of the ADA.
 Poschmann v. Coral Reef of Key Biscayne Developers, Inc., 2018 U.S. Dist. LEXIS 87457 *6
 (S.D. Fla. May 23, 2018).

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        can make reservations for accessible guest rooms during the same hours and in the same
        manner as individuals who do not need accessible rooms;
        (ii) Identify and describe accessible features in the hotels and guest rooms offered through
        its reservations service in enough detail to reasonably permit individuals with disabilities
        to assess independently whether a given hotel or guest room meets his or her accessibility
        needs;
        (iii) Ensure that accessible guest rooms are held for use by individuals with disabilities
        until all other guest rooms of that type have been rented and the accessible room
        requested is the only remaining room of that type;
        (iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms and
        ensure that the guest rooms requested are blocked and removed from all reservations
        systems; and
        (v) Guarantee that the specific accessible guest room reserved through its reservations
        service is held for the reserving customer, regardless of whether a specific room is held in
        response to reservations made by others.

        The Statute and Regulation are directly on point and unambiguously spell out all the

 elements of a cause of action. The plaintiff’s right to injunctive relief is accorded by 42 U.S.C.

 Section 12188(a), which provides that: “The remedies and procedures set forth in section

 2000a–3(a) of this title are the remedies and procedures this subchapter provides to any person

 who is being subjected to discrimination on the basis of disability in violation of this

 subchapter...” (Emphasis added.) A disabled person who encounters a non-compliant ORS

 becomes entitled to relief under this provision pursuant to two different subsections “of this

 subchapter”.

        First, 42 U.S.C. Section 12182(a) clearly spells out a complete cause of action as follows:

 “No individual shall be discriminated against on the basis of disability in the full and equal

 enjoyment of the ... services ... of any place of public accommodation...” A commercial website

 is a “service” of a place of public accommodation. Haynes v. Dunkin Donuts, LLC, 741 Fed.

 Appx. 752, 754 (11th Cir. 2018)(unpublished opinion)(describing a commercial website as a

 “service” of a place of public accommodation); Nat’l Fed’n Of The Blind v. Target Corp., 452 F.


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 Supp. 946, 953 (N.D. Cal. 2006)(same). Because a hotel’s reservation website system is a

 “service”, all that is required is that a disabled person be deprived of full and equal enjoyment of

 this “service”.6

         Alternatively,42 U.S.C. Section 12182(b)(2)(A) expressly provides that “discrimination”

 includes a violation of 42 U.S.C. Section 12182(b)(2)(A)(ii). Because a non-compliant ORS

 violates this latter subsection, it is therefore “discrimination” and thus actionable to “any person”

 who encounters it.

         The rules of statutory construction mandate a finding that a physical nexus requirement

 can NOT be imposed because any language expressing this requirement is conspicuously missing

 from the above cited Regulation and Statutory subsections. As set forth in the following cases,

 the imposition of substantially similar requirements have been extensively considered and

 rejected because they were noted to be present in other statutes or subsections, but absent from

 the applicable sections or subsections governing the claims before the courts reviewing them.

         In Marod, the Eleventh Circuit held that a disabled tester has standing to pursue a Title III

 ADA case for violations of 42 U.S.C. Section 12182. Generally, it held that a plaintiff’s motive

 and intent are entirely irrelevant and that there is no requirement that they be a client or customer

 or a bona fide customer. In this regard, the Eleventh Circuit relied on Supreme Court cases and

 applied the rules of statutory construction.

         Both Marod, 733 F.3d at 1333, and PGA Tour v. Martin, 532 U.S. 661, 678-79 (2001),

 held that an ADA plaintiff suing under 42 U.S.C. Section 12182(a) does not have to be a “client



         6
          An online reservations system may also be characterized as a privilege or advantage,
 also referenced in Subsection 12182(a).

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 or customer” of the defendant. In both cases, the Eleventh Circuit and Supreme Court noted that

 a different subsection of the same statute contained a “client or customer” requirement that was

 not present in the plain language of Subsection 12182(a). Therefore, both courts held, the

 requirement could not be applied. Because the “client or customer” language was present in one

 subsection, but missing from the subsection that governed, the requirement could not be

 imposed.

        In PGA Tour, 532 U.S. at 678-79, the defendant had argued that the plaintiff had no

 standing to sue unless he was a “client or customer” of the place of public accommodation. The

 Court rejected this notion. As the Court observed, the Statute’s “client or customer” limitation

 was set forth in only one Subsection of the Statute, but missing from others that governed the

 case before it. Specifically, Section 12182(b)(1)(A)(iv) contained the “clients or customers”

 limitation. However, the Subsection at issue in PGA Tour, namely 12182(a)7 did NOT contain

 this limiting language. Therefore, the Court stated that: “clause (iv) is not literally applicable to

 Title III’s general rule prohibiting discrimination against disabled individuals. Title III’s broad

 general rule contains no express “clients or customers” limitation...” PGA Tour, 532 U.S. at 679

 (citing Subsection 12182(a)). Therefore, as the Supreme Court observed, limiting language

 contained in one Subsection of Title III cannot be applied to other Subsections of the same statute

 where that language is missing.

        This “client or customer” analysis regarding was similarly applied by the Marod Court

 when it held that testers have standing, that they do not need to be a client or customer, and that

 their motive is irrelevant. 733 F.3d at 1333-34. However, the Marod Court additionally relied

        7
            Subsection 12182(a) is the same Subsection that governs the instant action.

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 heavily on other similar opinions involving different language and applying the rules of statutory

 construction.

        In Marod, the Eleventh Circuit considered other cases applying other civil rights statutes.

 Among these was Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), discussed by the

 Marod Court at 733 F.3d at 1330. As noted by Marod regarding Havens:

        The Supreme Court concluded that a black tester who was misinformed about the
        availability of a rental property had alleged sufficient injury-in-fact to support standing to
        sue under § 804(d) of the FHA. Id. at 374, 102 S. Ct. at 1121-22. The plaintiff-tester in
        Havens Realty never intended to rent the apartment; rather, his sole purpose was to
        determine whether the defendant engaged in unlawful practices. Id.
                 In considering the tester's standing, the Supreme Court in Havens Realty explained
        that the "'the actual or threatened injury required by Art. III may exist solely by virtue of
        statutes creating legal rights, the invasion of which creates standing." Id. at 373, 102 S. Ct.
        at 1121 (alterations adopted) (quoting Warth v. Seldin, 422 U.S. 490, 500, 95 S. Ct. 2197,
        2206, 45 L. Ed. 2d 343 (1975)); see also Linda R.S. v. Richard D., 410 U.S. 614, 617 n.3, 93
        S. Ct. 1146, 1148 n.3, 35 L. Ed. 2d 536 (1973) ("Congress may enact statutes creating legal
        rights, the invasion of which creates standing, even though no injury would exist without the
        statute."). The statutory language of the relevant FHA provision, § 804(d), was therefore
        critical to the Supreme Court's decision. Havens Realty, 455 U.S. at 373, 102 S. Ct. at 1121.

 Marod, 733 F.3d at 1330. The Court also noted:

        The Supreme Court therefore concluded that § 804(d) "establishes an enforceable right to
        truthful information concerning the availability of housing" and "[a] tester who has
        been the object of a misrepresentation made unlawful under § 804(d) has suffered injury
        in precisely the form the statute was intended to guard against, and therefore has standing
        to maintain a claim for damages under the Act's provisions." [Citation omitted.]
                The Supreme Court admonished "[t]hat the tester may have approached the real
        estate agent fully expecting that he would receive false information, and without any
        intention of buying or renting a home, does not negate the simple fact of injury within
        the meaning of § 804(d)." Id. at 374; 102 S. Ct. at 1121. The Supreme Court explained
        that "[w]hereas Congress, in prohibiting discriminatory refusals to sell or rent in § 804(a)
        of the Act, 42 U.S.C. § 3604(a), required that there be a 'bona fide offer' to rent or
        purchase, Congress plainly omitted any such requirement insofar as it banned
        discriminatory representations in § 804(d)." Havens Realty, 455 U.S. at 374; 102 S. Ct. at
        1122.

 Marod, 733 F.3d at 1330-31 (emphasis added).


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        The case at bar is substantially similar to Havens Realty. Under Havens Realty, the plain

 language of the statute gave a right of action to a civil rights tester who encountered

 discriminatory information about an apartment even though they did not intend to rent the

 apartment. In other words, it was not necessary that the person intended to rent or visit the

 physical location. Rather, encountering the discriminatory information was sufficient.

        In Marod, the Court also noted that other anti-discrimination statutes required that a

 plaintiff have “bona fide” status. Marod, 733 F.3d at 1333. Because the bona fide requirement

 was contained in other statutes, but not included in the applicable provisions of 42 U.S.C. 12182,

 its requirement could not be imposed. Id.

        In Havens Realty, the Supreme Court applied the same rule of statutory construction,

 noting that a requirement that a plaintiff be a “bona fide patron” was included in one subsection

 of the applicable statute, but missing from the subsection that applied to the case before it.

 Therefore, the bona fide requirement did not apply. Havens Realty, 455 U.S. at 374.

        In Marod, the Court stated:

        These examples illustrate that Congress has said so expressly when it wants to limit the
        class of people protected by anti-discrimination statutes to only clients or customers or to
        people of bona fide status. But Congress expressed no such limitation in the parts of Title
        III that are relevant to Plaintiff Houston's lawsuit. This absence of legislative language
        restricts our interpretation, as we are "not allowed to add or subtract words from a
        statute."

 733 F.3d at 1333-34.

        The ability or inability to obtain information in violation of a statute was recognized as an

 actionable injury by the Supreme Court in Federal Election Commission v. Akins, 524 U.S. 11,

 20-25 (1998), which ruled that a group of voters' "inability to obtain information" that Congress



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 had decided to make public is a sufficient injury in fact to satisfy Article III. In this regard the

 Supreme Court stated:

         Indeed, this Court has previously held that a plaintiff suffers an "injury in fact" when the
         plaintiff fails to obtain information which must be publicly disclosed pursuant to a
         statute. Public Citizen v. Department of Justice, 491 U.S. 440, 449, 105 L. Ed. 2d 377,
         109 S. Ct. 2558 (1989) (failure to obtain information subject to disclosure under Federal
         Advisory Committee Act "constitutes a sufficiently distinct injury to provide standing to
         sue").

 524 U.S. at 21.

         Informational injury has been recognized in this Circuit. See, e.g., In re Nickelodeon

 Consumer Privacy Litig., 827 F.3d 262, 273-74 (3rd Cir. 2016)(recognizing intangible harm as

 including unlawful denial of access to information subject to disclosure). Indeed the Hernandez

 court addressed the Nickelodeon ruling by ignoring it entirely.

         Various district courts within the Third Circuit have recognized informational injury as

 cognizable where Congress had created a statute creating that right. See Kaymark v. Udren Law

 Offices, P.C., 2016 U.S. Dist. Lexis 171061 (W.D. Pa. 2016)(holding that debtor’s right to

 truthful information under the Fair Debt Collection Practices Act was one where Congress had

 elevated to the status of a legally cognizable injury); Cartmell v. Credit Control, LLC, 2020 U.S.

 Dist. Lexis 4136 ** 30-33 (E.D. Pa. 2020)(holding that a plaintiff had standing to sue for receipt

 of “truthful information” under the FDCPA even though the statute of limitations had passed on

 the debt at issue and he had not intention to pay it. The Court held that the plaintiff’s “receipt of

 the [untruthful] letter was itself the informational harm the FDCPA was enacted to prevent.);

 Berry v. John Dor Managers, 1991 U.S. Dist. Lexis 10159 *10 (E.D. Pa. 1991), (testers who

 falsely represented their status nonetheless had standing to sue for receipt of misleading



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 information under the Fair Housing Act); Tonge v. Fundamental Labor Strategies, Inc., 277

 F.Supp. 3d 809, 820-21 (E.D. Pa. 2017)(plaintiff had standing to sue for deprivation of right to

 truthful information under Fair Debt Reporting Act despite lack of additional injury). In Newark

 Branch, NAACP v. Clifton, 1990 U.S. Dist Lexis 17512, **20-22 (D.N.J. 1990), one court

 surveyed civil rights cases holding that a court need not inquire as to whether a job applicant

 actually indented to take the job for which they applied.

         The Hernandez Court distinguished itself from Havens Realty by reasoning that in

 Havens Realty “the plaintiff[] actually experienced differential treatment based on a

 characteristic protected by statute[,]” and that a “tester without disabilities would have

 encountered the same difficulty in assessing the accessible features of [the hotel].” Id. at 10-11.

 In this regard, the Hernandez Court misread Havens Realty. In both Havens Realty and in ORS

 cases filed by a disabled plaintiff, the plaintiff had a statutorily created right to receive truthful

 information and the plaintiffs were members of the class the statute intended to protect.

 Moreover, this opinion stands alone and is contradicted by the Supreme Court and numerous

 Circuit Courts. To the contrary, Havens Realty stands for the proposition that a plaintiff has a

 right for deprivation of information when the defendant violates its legal obligation to provide it.

 The Havens Realty Court specifically stated as follows:

         Thus, even though the individual testers had no intention of renting or purchasing a home
         or apartment, “Congress has thus conferred on all "persons" a legal right to truthful
         information about available housing.” Id. The Court noted that the statute “establishes an
         enforceable right to truthful information concerning the availability of housing....A tester
         who has been the object of a misrepresentation made unlawful under § 804(d) has
         suffered injury in precisely the form the statute was intended to guard against, and
         therefore has standing to maintain a claim for damages under the Act's provisions. That
         the tester may have approached the real estate agent fully expecting that he would receive
         false information, and without any intention of buying or renting a home, does not negate


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        the simple fact of injury within the meaning of § 804(d).

 Havens Realty, 455 U.S. at 373-74 (emphasis added). In subsequent opinions, the Supreme

 Court expressly recognized that Havens Realty stands for the proposition that it is about the right

 to receive truthful information and that failure in this regard constitutes injury. In the Akins

 decision, the Supreme Court referenced Havens Realty as follows:

                Indeed, this Court has previously held that a plaintiff suffers an "injury in fact"
        when the plaintiff fails to obtain information which must be publically disclosed
        pursuant to a statute..... See also Havens Realty Corp. v. Coleman, 455 U.S. 363,
        373-374[] (1982) (deprivation of information about housing availability constitutes
        "specific injury" permitting standing).

 Akins, 524 U.S. at 21 (emphasis added). This same point was made in Havens Realty’s own

 dissenting opinion. 136 S.Ct. At 1555 (Ginsburg, J. Dissenting)(noting that Havens Realty

 identified the right to truthful information). Various circuit courts have cited Havens Realty in

 reaching similar conclusions in recognizing informational injury. See Ragin v. Harry Maclowe

 Real Estate Co., 6 F.3d 898, 904 (2nd Cir. 1993)(black testers had standing to sue over

 discriminatory advertisement even though they had no intention of renting apartment); Watts v.

 Boyd Properties, 758 F.2d 1482, 1485 (11th Cir. 1985)(noting Havens Realty’s holding that

 plaintiff had right against receiving false information); Bensman v. United States Forest Serv.,

 408 F.3d 945, 955-57 (7th Cir. 2005)(surveying cases and statutes where informational injury is

 recognized and actionable); Carter v. Welles-Bowen Realty, Inc. 553 F.3d 979, 989 (6th Cir.

 2009)(discussing informational injury); Wilderness Soc’y v. Rey, 622 F.3d 1251, 1258-60 (9th Cir.

 2010)(discussing informational injury); Tandy v. City of Wichita, 380 F3d 1277, 1290 (10th Cir.

 2004)(Title II ADA tester has standing to sue for failure to provide required information); In re

 Nickelodeon Consumer Privacy Litig., 827 F.3d 262, 273-74 (3rd Cir. 2016)(recognizing


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 intangible harm as including unlawful denial of access to information subject to disclosure); Co.

 Doe v. Pub. Citizen, 749 F.3d 246, 263-64 (4th Cir. 2014)(plaintiff “suffers an Article III injury

 when he is denied information that must be disclosed pursuant to a statute”).

        On this point, the Seventh Circuit in Carello v. Aurora Policemen Credit Union, 930 F.

 3d 830, 832-33 (7th Cir. 2019) explained the basis by which the Hernandez’ analysis is flawed.

 As explained in Carello, the issue for applicability and recognition of purely informational injury

 is whether the statute at issue requires that the defendant provide the relevant information to the

 plaintiff. In the case at bar, the statute and applicable Regulation do exactly this. They require

 that an ORS provide accessibility information and option to book at room to disabled persons,

 the class of which this plaintiff is a member.

        Under the above cited cases, an ADA plaintiff does not have to be a client or customer or

 a bona fide customer and his motive or intent are entirely irrelevant. All that is required is that

 they encounter discrimination within the plain meaning of the words of the statute. This includes

 discrimination in the form of information without any visit or intent to visit the property which is

 the subject of that information. There is no additional requirement that they intend to use or visit

 the physical property, unless the applicable statutory provisions expressly say so. Thus, there is

 no room left to reach an interpretation that a disabled plaintiff must intend to book a room at a

 hotel, or actually visit the hotel, before they can have a cause of action for a discriminatory online

 reservations system. Any language imposing such a requirement is completely absent. Neither the

 general provision of 42 U.S.C. Section 12182(a), the definition of “discrimination” under 42

 U.S.C. Section 12182(b)(2)(A)(ii), nor the Regulation contain any such requirement. To the

 contrary, failure by the Defendant to make its online reservations system compliant with the


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 Regulation constitutes “discrimination” within the meaning of Subsection 12182(b)(2)(A)(ii).

 This then is prohibited by the general provision of Subsection 12182(a) because the disabled

 person is deprived of full and equal access to a service. It does not then matter whether an ADA

 tester intended to do anything more than what is set forth in the statute. The words “no individual

 shall be discriminated against...” means that any disabled person who encounters a

 discriminatory service has a cause of action, regardless of whether they are a tester and regardless

 of their intent. Moreover, Subsection 12188's granting of injunctive relief to “any person who is

 being subjected to discrimination” cannot be interpreted to impose any requirements that would

 reduce “any person” to “only some people”.

        To the extent there is any room for doubt, there is in fact another subsection of the

 Statute which DOES contain language imposing a physical nexus requirement. 42 U.S.C.

 Section 12182(b)(2)(A)(i) prohibits:

        “the imposition or application of eligibility criteria that screen out or tend to screen out an
        individual with a disability or any class of individuals with disabilities from fully and
        equally enjoying any goods, services, facilities, privileges, advantages, or
        accommodations...” (Emphasis added.)

        In that Subsection, the word “from” is critical because its insertion in the Subsection

 means that a disabled person’s encounter with discriminatory eligibility criteria by itself does not

 give rise to a cause of action unless and until that criteria prevents them “from” full and equal

 access to goods or services. This word, however, is conspicuously absent from either the

 Statute’s Subsections or the Regulation that govern online reservations systems. Because an

 ORS is a “service” of the place of public accommodation, and failure to comply with the

 Regulation qualifies as “discrimination”, then nothing more is necessary. When a disabled person



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 encounters a non-compliant ORS, he has been “discriminated against on the basis of disability in

 the full and equal enjoyment of ... services, ..., privileges, advantages...”

        The Supreme Court’s opinion in Bates v. United States, 522 U.S. 23, 29 (1997) is helpful.

 In Bates, the Supreme Court held that the requirement of intent could not be imported from one

 section of a statute (where it was included) into another section of the statute where it was

 omitted. For this same reason, the imposition of the requirement that plaintiff intend to book a

 room or visit the hotel is improper.

        Thus, the plaintiff has standing and there is no additional requirement that they actually

 visit the hotel or intend to book a room. In short, the Plaintiff’s encounter with the discriminatory

 website IS the injury.

        The Supreme Court’s recent decision in Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016)

 supports this conclusion. In Spokeo, the Supreme Court held that improper information which

 violated the Fair Credit Reporting Act did not, by itself, constitute injury8. However, the Spokeo

 Court specifically recognized the existence of statutes which provide that the dissemination of

 improper information constitutes an injury with nothing more required. In this regard, the Spokeo

 Court stated:

                Just as the common law permitted suit in such instances, the violation of a
        procedural right granted by statute can be sufficient in some circumstances to constitute
        injury in fact. In other words, a plaintiff in such a case need not allege any additional
        harm beyond the one Congress has identified. See Federal Election Comm’n v. Akins,
        524 U. S. 11, 20-25, 118 S. Ct. 1777, 141 L. Ed. 2d 10 (1998) (confirming that a group of
        voters’ “inability to obtain information” that Congress had decided to make public is a


        8
         It should be noted that the Fair Credit Reporting Act was intended to protect one class of
 persons, debtors, from incorrect information provided to a different class of persons, creditors.
 By contrast, in anti-discrimination statutes such as the ADA, the injury occurs when the disabled
 person receives the discriminatory information from the defendant.

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        sufficient injury in fact to satisfy Article III); Public Citizen v. Department of Justice, 491
        U. S. 440, 449, 109 S. Ct. 2558, 105 L. Ed. 2d 377 (1989) (holding that two advocacy
        organizations’failure to obtain information subject to disclosure under the Federal
        Advisory Committee Act “constitutes a sufficiently distinct injury to provide standing to
        sue”).

 Spokeo, 136 S.Ct. At 1549-50. In the Akins decision referenced by Spokeo, the Supreme Court,

 in turn, referenced Havens Realty as follows:

                 Indeed, this Court has previously held that a plaintiff suffers an "injury in fact"
        when the plaintiff fails to obtain information which must be publically disclosed pursuant
        to a statute..... See also Havens Realty Corp. v. Coleman, 455 U.S. 363, 373-374[] (1982)
        (deprivation of information about housing availability constitutes "specific injury"
        permitting standing).

 Akins, 524 U.S. at 21. Thus, the Spokeo Court neither overturned nor narrowed Havens Realty9,

 but instead acknowledged the body of law to which Havens Realty belongs.10 Indeed, the

 concurring opinion in Spokeo expressly recognized Havens Realty. Spokeo, 136 S.Ct. at 1553

 (Thomas J., Concurring). Havens Realty was also recognized in Spokeo’s dissent. 136 S.Ct. At

 1555 (Ginsburg, J. Dissenting).

        Applied to the case at bar, the Regulation unambiguously requires that hotel online

 reservations services provides certain information and the option to book accessible rooms to

 disabled persons, such as the plaintiff. The failure in this regard constitutes “discrimination”. 42

 U.S.C. Section 12182(b)(2)(A). Thus, Congress and the DOJ have created an injury in fact when


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          In Macy v. GC Servs., L.P., 897 F.3d 747, 754 (6th Cir. 2018), the Sixth Circuit noted
 that “[a] long line of Supreme Court precedent, cited approvingly in Spokeo, supports the
 conclusion that Spokeo did not mean to disturb the Court's prior opinions recognizing that a
 direct violation of a specific statutory interest recognized by Congress, standing alone, may
 constitute a concrete injury without the need to allege any additional harm.”
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          In Marod, passim, this Circuit Court found substantial similarities between the ADA
 and the statute at issue in Havens Realty with regard to the issue of standing and the lack of any
 motive requirement of the individual plaintiff.

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 a disabled person encounters a non-compliant ORS.

 VII.   Defendant’s Reference To Griffin Is Unavailing

        Defendant cites Griffin v. Dep't of Labor Fed. Credit Union, 912 F.3d 649 (4th Cir.

 2019). However, the Defendant completely overlooks the disclaimer set forth in Griffin that its

 holding was confined to circumstances where the plaintiff was legally barred from becoming a

 member of the defendant’s exclusive credit union. Id., at 653. The court specifically stated that it

 was not considering “the rights generally of people with disabilities to sue for Internet-based

 harms under the ADA”. 912 F.2d at 653. The context in which Griffin fits in with the law is

 illustrated by the Seventh Circuit’s opinion in Carello v. Aurora Policemen Credit Union, 930 F.

 3d 830, 832-33 (7th Cir. 2019) , which followed and expressly stated its holding was “no broader”

 than Griffin. Significantly, the Carello Court distinguished itself from the sorts of websites

 applicable to the case at bar, stating: “Carello does not complain that the Credit Union withheld

 information....” Id. at 835 (emphasis added). Thus, the Carello Court expressly distinguished

 the statute at issue therein with the type of statute and regulation at issue herein - which require

 the disclosure of certain information and an option to book. Indeed, the Carello Court recognized

 that informational injury is actionable when the defendant fails to provide information to a

 plaintiff that a law entitles him to obtain and review for some substantive purpose. Id. at 835.

 “Once that occurs, there is no additional requirement that the plaintiff suffer any additional harm

 beyond his or her failure to receive the information that the law renders subject to disclosure. Id.,

 citing Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016). Specifically, the Carello Court stated:

        An informational injury occurs when the defendant refuses to provide the plaintiff with
        information that a law—typically, a sunshine law—entitles him to obtain and review for
        some substantive purpose. See, e.g., Fed. Election Comm'n v. Akins, 524 U.S. 11, 21,


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        24-25, 118 S. Ct. 1777, 141 L. Ed. 2d 10 (1998) (concluding that voters' inability to
        obtain information subject to disclosure under the Federal Election Campaign Act of
        1971 is a sufficiently concrete injury); Pub. Citizen v. U.S. Dep't of Justice, 491 U.S. 440,
        449, 109 S. Ct. 2558, 105 L. Ed. 2d 377 (1989) (explaining that, to satisfy Article III's
        injury requirement, advocacy organizations requesting information subject to disclosure
        under the Federal Advisory Committee Act need only show "that they sought and were
        denied" the information); Casillas [v. Madison Ave., Assoc., 926 F.3d 329,] 337-38 [(7th
        Cir. 2019)] ("[Akins and Public Citizen] hold that the denial of information subject to
        public disclosure is one of the intangible harms that Congress has the power to make
        legally cognizable." (emphasis omitted)). In such cases, a plaintiff "need not allege any
        additional harm beyond" his failure to receive information that the law renders subject to
        disclosure. Spokeo, 136 S. Ct. at 1549.

        In this regard, Carello squarely establishes that this Court must recognize Plaintiff’s right

 to sue. The Regulation was promulgated for the purpose of providing a right of this plaintiff and

 other disabled persons to the right to book a room and further requiring the provision of specific

 information regarding accessibility at a hotel.

 VIII. Defendant’s Reference To Crupar-Weinmann is unavailing

        Defendant’s reliance to Crupar-Weinmann v. Paris Baguette Am., Inc., 861 F.3d 76 (2nd

 Cir. 2017, is unavailing. There, the Second Circuit recognized that: “After all, as "Congress is

 well positioned to identify intangible harms that meet minimum Article III requirements, [and] its

 judgment is also instructive and important," Congress "may 'elevat[e] to the status of legally

 cognizable injuries concrete, de facto injuries that were previously inadequate in law.'” Id. at 80.

 The Second Circuit noted that: “A central inquiry, then, is whether the particular bare procedural

 violation may present a material risk of harm to the underlying concrete interest Congress sought

 to protect.” Id. at 80-81. For example, the Crupar-Weinmann case involved the inclusion of

 credit card expiration dates on certain information, which was expressly recognized as not

 increasing the risk of harm (of identity theft) that the statute was intended to prevent. Id. 81-82.



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 By contrast, the Regulation and ADA were designed to guard against a hotel providing

 discriminatory information to disabled persons (or failing to provide them with the required

 information). The disabled person is the member of the protected class and, when he or she

 reviews a non-compliant ORS, they suffer discrimination and are deprived of less than full and

 equal access to the hotel’s service. When a disabled person reviews a hotel’s website that fails to

 allow for booking of accessible rooms and fails to provide the information required about

 accessibility, the harm of discrimination actually occurs.

 IX.    Testers Have Standing

        Two circuit courts have recognized the standing of ADA testers. Colo. Cross-Disability

 Coalition v. Abercrombie & Fitch Co., 765 F.3d 1205, 1211 (10th Cir. 2014), citing Houston v.

 Marod Supermarkets, Inc., 733 F.3d 1323, 1333-34 (11th Cir. 2013). As explained in Marod, the

 ADA affords injunctive relief to “any person who is being subjected to discrimination”. 42

 U.S.C. Section 12188(a). 42 U.S.C. Section 12182(a) provides that “No individual shall be

 discriminated against on the basis of disability....” The Marod Court compared these all

 encompassing terms to the language of the statute at issue in Havens Realty, in reaching the

 conclusion that testers have standing. Marod, passim. As such, the disabled person’s motive is

 entirely irrelevant because all that matters is whether they encountered discrimination as defined

 by plain words the Statute. Marod, passim.

        Moreover, courts have widely recognized the public policy served by plaintiffs acting as

 “private attorneys general” in enforcing the provisions of the ADA. See Hensley v. Eckerhart,

 461 U.S. 424, 445(1983) (“All of these civil rights laws depend heavily upon private

 enforcement, and fee awards have proved an essential remedy if private citizens are to have a


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 meaningful opportunity to vindicate the important Congressional policies which these laws

 contain.”); Pierson v. Ray, 386 U.S. 547, 558, 87 S. Ct. 1213, 1219-20 (1967) (deliberate

 exercise of a right does not deprive § 1983 plaintiffs of standing); Bruce v. City of Gainesville,

 177 F.3d 949, 952 (11th Cir. 1999); Mallory v. Harkness, 923 F.Supp 1546, 1551 (S.D. Fla.

 1996) (“Congress intended Section 1988 to prompt plaintiffs to act as citizen enforcers or private

 attorneys general advancing our nation civil rights objectives and vindicating the liberty of all

 citizens.”). “Civil rights law depends heavily on private enforcement. Moreover, the inclusion of

 penalties and damages is the driving force that facilitates voluntary compliance with the ADA.”

 Parr v. L & L Drive-Inn Restaurant, 96 F.Supp.2d 1065, 1082 (D. Hawaii 2000). Courts have

 noted: “As a result, most ADA suits are brought by a small number of private plaintiffs who view

 themselves as champions of the disabled. For the ADA to yield its promise of equal access for

 the disabled, it may indeed be necessary and desirable for committed individuals to bring serial

 litigation advancing the time when public accommodations will be compliant with the ADA.”

 Molski v. Evergreen Dynasty Corp., 500 F.3d 1047, 1062 (9th Cir. 2007); D'Lil v. Best Western

 Encina Lodge & Suites, 538 F.3d 1031, 1040 (9th Cir. 2008). See also Harry MackLowe Real

 Estate Co., 6 F.3d at 904 (acknowledging testers right to enforce private attorney general statute).

         The result of a private attorney general statute such as the ADA is that “[i]t is not

 unprecedented in this country for advocacy groups and individual members of advocacy groups

 to find it necessary to file a long trail of lawsuits in federal courts to enforce legal and civil

 rights.” Marod, 733 F.3d at 1326.

         Other courts have held that status a tester “ plausibly increases the likelihood that he or

 she will visit the [defendant’s] website again to test its ADA compliance.” Kennedy v. Sai Ram


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 Hotels, 2019 U.S. Dist. Lexis 80111, * 9 (M.D. Fla. 2019), citing Gold Sun Hospitality, LLC,

 No. 8:18-cv-842-T-33CPT, DE 23, pp. 31-32. See also Access 4 All, Inc. v. Absecon Hospitality

 Corp., 2006 WL 3109966, *17 (D.N.J. 2006). Marod, 733 F.3d at 1336 (explaining that

 plaintiff’s status as a tester indicated that he would revisit the property many times and therefore

 tended to show a real and immediate threat of future injury).

        In cases such as Juscinska, which discuss a plaintiff’s intent to go to the hotel, such

 discussion is typically in the context of the court’s assessment of the plausibility that the plaintiff

 would return to the website. In other words, what reason does the plaintiff have to revisit the

 hotel’s ORS. For instance, in Poschmann, 2018 U.S. Dist. Lexis 87457 at *8, the court held that

 returning to the website to book a room is one valid reason and checking it for compliance with

 the Regulation is another.

        In Camacho, the defendant had challenged plaintiff’s intent on the basis that he had filed

 50 similar complaints regarding the websites of schools all over the country. 2019 U.S. Dist.

 Lexis 209202, at *29. The court addressed this argument as follows:

        Defendant notes that Plaintiff's allegation that he "intends to visit Defendant's school in
        the near future if he could visit their website" is present in many, if not all, of the other
        complaints. []. From this, Defendant urges the Court to intuit that this allegation, as it
        appears in the Second Amended Complaint, should be discredited.[]. If Plaintiff were to
        visit each of the schools named in those complaints, he would be forced to travel to 42
        cities across 19 states. []. Doubting the feasibility of such an expansive college tour,
        Defendant argues that the Second Amended Complaint does not adequately plead an
        intent to visit Defendant's school, and thus has not alleged facts that make it "reasonable
        to infer that Plaintiff's expressed intent to return to the Property is likely to materialize
        into fact sometime in the future." []
        Defendant's argument, built around citations to cases involving ADA claims relating to
        access to physical locations, misses the mark. Plaintiff has claimed that he was denied
        access to the Website, not Defendant's physical location itself. Thus, Defendant [sic] need
        not have shown that he intended to "return" to Defendant's school in Nashville,
        Tennessee. He is only required to have established a reasonable inference that he intended


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          to return to the Website, and the Court has found that this requirement is met. To the
         extent it is relevant, Plaintiff has also clarified that he does not intend to visit each of the
         schools against which he has filed complaints. [] Rather, he wishes to visit each of the
         schools' websites, learn more about them, and then make an informed choice regarding
         which schools it would be worth visiting in person.[]. The Court does not doubt that it
         would be plausible for Plaintiff to visit the websites of all 50 schools, if they were
         accessible.

 Id. at. ** 29-31. Thus, regardless of whether or not the plaintiff intends to visit the subject

 property, the real issue is whether or not the plaintiff intends to visit the website.

         Critically, in the instant case, the Plaintiff has a system whereby she maintains and

 constantly updates a list of all hotels she has sued regarding their online reservations systems.

 She makes sure she visits the ORS in each case shortly after the respective complaint is filed,

 then again when the defendant is required to bring its ORS into compliance with the law. Thus,

 she insures that she either will again suffer injury if the defendant does not comply with the law,

 or will benefit if the defendant does indeed comply. Under Parks., 2020 U.S. Dist. Lexis 86790,

 at *7, this suffices to establish standing.

 X.      Plaintiff Intends To Book A Room In New Jersey Hotels

         Although it is not necessary, Plaintiff has filed an Amended Complaint describing her

 intent (which existed prior to the filing of this action) to visit and travel throughout the State of

 New Jersey. Thus, Plaintiff will be staying in area hotels located throughout the state when she

 visits. The failure of this and so many other hotels to allow for booking of accessible rooms and

 failure to provide information about whether or not the features at the hotels are even accessible

 makes it difficult for Plaintiff to make meaningful choices because she is deprived of the

 information she needs. Id.

 XI.     Conclusion


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        For the foregoing reasons, Defendant’s Motion is without merit and should be denied.


                                                    Respectfully submitted,

                                                    /s/ Tristan W. Gillespie
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 22nd day of October 2020, a copy of the foregoing
 Memorandum in Opposition to the Motion to Dismiss was filed electronically and served on all
 counsel of record via the Court’s CM/ECF system.


                                            /s/ Tristan W. Gillespie




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